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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ANTONIO SOLIS, JOSE SOLIS,            )       Docket Number:         20 C 2348
AND JUAN RANGEL,                      )
     Plaintiffs,                      )       District Judge:        The Honorable Martha Pacold
                                      )
       v.                             )       Magistrate Judge:      The Honorable Sunil Harjani
                                      )
HILCO REDEVELOPMENT                   )
L.L.C., ET. AL.,                      )
        Defendants.                   )

                        PUTATIVE CLASS MEMBERS’ REPLY TO
                      PROPOSED CLASS COUNSEL’S RESPONSE TO
                       PUTATIVE CLASS MEMBERS’ OBJECTIONS

       Putative class member Maria Pérez, by her counsel, Paúl Camarena, respectfully replies

to Loevy & Loevy’s Response as follows:

       Contrary to Loevy & Loevy’s Response assertions, Maria Pérez’s Objection does not

contain any false or misleading statements. By contrast, Loevy & Loevy’s Response contains

numerous false and misleading statements. For example, Loevy & Loevy suggests that

Objector’s counsel contacted Loevy & Loevy “seeking money1.” In fact, Objector’s counsel

specifically wrote to Loevy & Loevy that he is “not, nor would [he] ever, seek any compensation

with respect to this class action” and that he “grew up in Little Village, and [he] care[s] deeply

about the community.” In addition, Loevy & Loevy asserts that Attorney Camarena’s

“correspondence does not say that Attorney Camarena is representing any putative class

member2.” In fact, Attorney Camarena specifically wrote to Loevy & Loevy that “putative class

members have expressed to [Attorney Camarena] their objection.” Loevy & Loevy’s patently

false and misleading statements should further weigh against a Court determination that Loevy &


1 D.E. 15 (Response), p. 2.
2 D.E. 15 (Response), p. 3.
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Loevy will fairly and adequately represent the interests of the class. Federal Rule of Civil

Procedure 23(g)(1)(B). While Loevy & Loevy counsel are certainly experienced and competent,

the class needs counsel who are also honest and candid.

       Just as importantly, Loevy fails to adequately address Maria Pérez’s substantive

objections. For example, Loevy asserts that “the S.E.C.’s past accusation of fraud against Mr.

Rangel ... would plainly be inadmissible in this lawsuit,” because “Rangel has never been

charged or convicted of any fraud [and c]ivil claims filed by the SEC in 2016 regarding a bond

offering were settled for $10,000 without any admission of guilt3.” Loevy has significant trial

experience and, thus, seems to have intentionally ignored Fed.R.Crim.Pro. 608(b)(2), which

makes admissible a witness’s prior frauds regardless of whether the witness was ever criminally

charged, was ever convicted, or ever admitted guilt. Loevy also fails to even address Maria

Pérez’s objection to Rangel’s incredible claim that, on April 11, he was “visiting his brother who

had fallen ill with coronavirus,” even though the Governor’s executive order would have

prohibited Rangel from leaving his home for such a visit and C.D.C. Guidelines would have

prohibited this allegedly ill brother from receiving such a visit. Loevy further fails to even

address Maria Pérez’s objection to Rangel’s claim that he “returned to his home in Little Village

and saw that the remnants of the dust cloud coated his entire block.” Maria Pérez’s objects

because, while the dust cloud did cover some blocks near the smokestack site, the dust cloud

dissipated as it traveled throughout Little Village. Hence, in point of fact, the dust cloud did not

entirely coat other blocks that were even closer to the the smokestack site than Rangel’s block.

Therefore, a jury could reasonably conclude that Rangel’s claims are false and that he became

class representative only because, unlike other class members, he was willing to misrepresent

damages. Such a jury conclusion would prejudice the entire class and, thus, this Court should

3 D.E. 15 (Response), p. 7.
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find that Rangel cannot “adequately protect the interests of the class.” Rule 23(a)(4).

        Respectfully submitted,
        Maria Pérez’s Counsel
        North & Sedgwick
by:     /s/ Paúl Camarena                  .




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